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       6.        Defendants do not stipulate to the merits of Plaintiff's claims against them and

 do not stipulate that they are properly named as Defendants in this case.



/]ca(     July 19, 2017             $             /s/ Paul L. Maloney
                                                         7JI L*W C CH*CJI1[

                                                         United States District Judge




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